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—  Geofence warrants use Google location data to find people who were near a crime scene.

NBC News; Getty Images

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By Jon Schuppe

Authorities in Virginia violated the Constitution when they used Google location data to find
people who were near the scene of a 2019 bank robbery, a federal judge ruled last week.
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The judge found that this policing tactic, which is widely used across the country, breached the
Fourth Amendment’s protections against unreasonable searches by scooping up information on
innocent people without evidence that they might be suspects.

The decision, issued Thursday by Judge M. Hannah Lauck of the U.S. District Court for the
Eastern District of Virginia, could make it more difficult for police to use geofence warrants,
which draw on tracking data collected by cellphones to find people who were close to a crime
scene. The warrants have become popular among law enforcement officers in cases where they
have run out of leads using traditional investigatory techniques. The warrants have been used to
help solve all sorts of crimes, from burglaries and home invasions to murders and sexual assaults
— and to identify people who stormed the U.S. Capitol on Jan. 6, 2021.

But these digital dragnets have raised concerns among defense lawyers and privacy advocates
who say the government is secretly collecting data from dozens or more people, most of whom
have nothing to do with a crime, in order to find a potential suspect. The critics argue that the
warrants put innocent people at risk of wrongful arrest — as happened to a Florida man who was
ensnared in a 2019 burglary investigation after riding his bike past the scene.

Albert Fox Cahn, executive director of the Surveillance Technology Oversight Project, a civil
rights nonprofit that opposes the use of geofence warrants, said Lauck had issued a “landmark”
ruling that could lead to more courts declining law enforcement’s requests to use Google
location data.

“This is going to be a wake-up call for the judges who have been rubber-stamping these sorts of
warrants at the federal and state level,” Cahn said.

Law enforcement authorities say geofence warrants are legal because Google users agree to have
their location tracked. Police also say they work with Google to receive only anonymized data
until they find a device that draws their suspicion. The evidence provided by a geofence warrant
alone is not enough to charge someone with a crime, police say.

In the Virginia case, a detective from the Chesterfield County Police Department, assigned to a
federal violent crimes task force, sought a geofence warrant after three weeks of trying to
identify a gunman who walked to a bank in Midlothian, forced a worker to open a safe and
walked out with $195,000. Security footage showed that when the suspect arrived at the bank,
he was holding a cellphone to his ear. The detective requested a warrant for Google’s location
data from all the cellphones that had been in a 150-meter radius (about 164 yards) of the bank
during the heist. A local magistrate approved the warrant.
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Google provided location data, but not identifying information, for 19 devices in the area. The
detective gradually narrowed the list to three devices, and Google provided information about
the people whose names were associated with them. That led investigators to Okello Chatrie, 27,
who was charged with armed robbery in September 2019. Chatrie has remained in jail since then
and has pleaded not guilty.

His lawyers, including Michael Price, the lead litigator of the National Association of Criminal
Defense Lawyers’ Fourth Amendment Center, argued that the geofence warrant violated the
Constitution and that the information police got from it should be thrown out.

Price and Chatrie’s public defender, Laura Koenig, declined to comment on Lauck’s ruling. So
did the U.S. Attorney’s Office in the Eastern District of Virginia and the Chesterfield County
Commonwealth’s Attorney’s Office. The detective who sought the warrant and the magistrate
who approved it could not immediately be reached for comment.

Google released a statement saying the company was reviewing the court's decision. “We
vigorously protect the privacy of our users," a spokesperson said, "including by pushing back on
overly broad requests, while supporting the important work of law enforcement.

Chatrie’s challenge prompted the deepest courtroom examination of geofence warrants to date,
including hearings that explored the details of Google location data, how law enforcement
negotiates with Google for that information and what investigators do with it.

The number of geofence warrants police submitted to Google has risen dramatically. In 2018,
Google received 982 geofence warrants from law enforcement; in 2020 that number surged to
11,554, according to the most recent data provided by the company. Google now gets geofence
warrants from agencies in all 50 states, Washington, D.C., and the federal government.

Until now, geofence warrants have largely gone uncontested by U.S. judges, with rare exceptions.
They include two federal magistrates in Illinois who refused requests for geofence warrants in
2020, a federal magistrate in Kansas who turned down a request last year and a judge in Fairfax,
Virginia, who declined a warrant request last month.

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The Chatrie case was the first to comprehensively examine the pros and cons of geofence
warrants; it included arguments and experts representing the government and Chatrie, as well
as testimony from Google executives. The process lasted more than two years.

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In the end, Lauck sided with Chatrie — but with a catch.

Lauck wrote in her March 3 decision that the way authorities used the geofence warrant —
capturing data on a large number of people within an area that included a church, a restaurant,
a hotel and an apartment complex, with little judicial oversight — “plainly violates the rights
enshrined in” the Fourth Amendment. Lauck noted that the warrant “swept in unrestricted
location data for private citizens who had no reason to incur Government scrutiny.” That
included one person who didn’t appear to actually be in the 150-meter radius.

The judge also seemed troubled by the testimony of an expert, working for Chatrie, who was
able to find the likely identities of three people whose location data was provided in response to
the warrant by identifying their likely homes, tax records and social media accounts.

But Lauck stopped short of invalidating the evidence produced by the warrant, which could have
made it difficult to prosecute Chatrie. Instead, Lauck ruled that the evidence could stand in this
case, saying the detective who sought the warrant was not at fault because he had no one telling
him it was unconstitutional; he had successfully sought geofence warrants in past cases and had
consulted with prosecutors. Chatrie, therefore, won’t benefit from Lauck’s ruling. He is awaiting
trial.

Although Chatrie can still be prosecuted using evidence obtained from the geofence warrant,
Lauck’s ruling could make it more difficult for police to obtain the warrants in the future — and
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more likely that judges will suppress evidence obtained from them, experts said.

Jennifer Lynch, surveillance ligation director at the Electronic Frontier Foundation, a nonprofit
digital rights group, said she believed other courts will consider Lauck’s opinion in deciding
whether to approve the geofence warrants.

“There are more and more of these warrant requests going around, and judges are starting to
look more closely at them, and they are becoming aware of the problem with them,” Lynch said.

Jake Laperruque, senior policy counsel at The Constitution Project at the Project on Government
Oversight, said Lauck’s ruling could make it easier for defendants to challenge not only geofence
warrants but other kinds of mass surveillance tools.

Lauck “made it pretty clear that this type of dragnet measure on its face without proactive
efforts to limit it is unacceptable,” Laperruque said.

Lauck wrote that her decision was part of the judiciary’s “ongoing efforts to apply the tenets
underlying the Fourth Amendment to previously unimaginable investigatory methods” powered
by the massive amount of location data collected by Google and other technology giants.

The judge stressed that her ruling was not meant to say whether geofence warrants should ever
be used. She suggested that there might be a way to use them without violating the Fourth
Amendment, perhaps by limiting their scope and by seeking more court input during the
process. She cited a Washington, D.C., case in which a federal court in December required law
enforcement to request additional court approval before seeking personal information linked to
devices that belonged to likely suspects.

In the end, the judge wrote, the future of geofence warrants should be taken up by lawmakers.
She noted that there is no law that prevents tech companies from collecting and using vast
amounts of data from customers. She cited a bill in New York that seeks to ban the use of
geofence warrants.

“Thoughtful legislation could not only protect the privacy of citizens, but also could relieve
companies of the burden to police law enforcement requests for the data they lawfully have,“
Lauck wrote.

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